               Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 1 of 22



 1        NATIONAL CENTER ON                               THE HABA LAW FIRM, P.A.
          SEXUAL EXPLOITATION                              Lisa D. Haba*
 2
          Benjamin W. Bull*                                Adam A. Haba*
 3        Peter A. Gentala*                                1220 Commerce Park Dr., Suite 207
          Danielle Bianculli Pinter*                       Longwood, FL 32779
 4        Christen M. Price*                               Telephone: (844) 422-2529
          1201 F ST NW, Suite 200                          lisahaba@habalaw.com
 5
          Washington, D.C., 20004                          adamhaba@habalaw.com
 6        Telephone: (202) 393-7245
          lawcenter@ncose.com                              THE MATIASIC FIRM, P.C.
 7                                                         Paul A. Matiasic (SBN 226448)
                                                           Hannah E. Mohr (SBN 294193)
 8
                                                           4 Embarcadero Center, Suite 1400
 9                                                         San Francisco, CA 94111
                                                           Telephone: (415) 675-1089
10        *Pro Hac Vice Application Pending                matiasic@mjlawoffice.com
11
          Attorneys for Plaintiff
12
                                    UNITED STATES DISTRICT COURT
13
                              NORTHERN DISTRICT OF CALIFORNIA
14

15    JOHN DOE, A MINOR CHILD, BY AND Case No.: 3:21-cv-00485-JCS
      THROUGH HIS NEXT FRIEND JANE
16    DOE,                            PLAINTIFF’S EX PARTE APPLICATION
                                      FOR PROTECTIVE ORDER AND LEAVE
17             Plaintiff,             TO PROCEED ANONYMOUSLY WITH
18                                    MEMORANDUM IN SUPPORT;
      vs.                             [PROPOSED] ORDER
19
      TWITTER, INC.,
20
                    Defendant.
21

22
            Jane Doe is the parent and legal guardian of Plaintiff John Doe (“Plaintiff” or “John
23
     Doe”), a minor, and in all capacities relevant to this case, is serving as his Next Friend in order to
24

25
     bring this action.

26          Plaintiff, by and through his undersigned counsel, respectfully request that this Court

27   allow Plaintiff to bring this action anonymously and grant a protective order, pursuant to Federal
28                                      -1-
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
        PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                      ORDER
                 Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 2 of 22



 1   Rules of Civil Procedure 26(c), to ensure that Defendant keeps Plaintiff’s identity confidential
 2
     throughout the pendency of the lawsuit and thereafter. The arguments in support of this
 3
     application are set out in the Memorandum in Support incorporated herein by this reference.
 4
                                    MEMORANDUM IN SUPPORT
 5

 6          I.       SUMMARY OF THE FACTS

 7          Plaintiff, is a survivor of sex trafficking and is bringing an action for damages against
 8
     Defendant under the federal Trafficking Victims’ Protection Reauthorization Act (“TVPRA”),
 9
     18 U.S.C. §§ 1591 and 1595, Failure to Report Child Sexual Abuse Material, 18 U.S.C. §
10
     2258A, Receipt and Distribution of Child Pornography, 18 U.S.C. §§ 2252A, and related state
11

12   law claims. Plaintiff seeks a protective order and leave to proceed anonymously because the

13   disclosure of his identity on the public docket will cause him harm that outweighs the
14
     presumption of open judicial proceedings under these special circumstances. Likewise, Jane Doe
15
     additionally seeks a protective order and leave to proceed anonymously because the disclosure of
16
     her identity, as Plaintiff’s mother, would compromise the anonymity of Plaintiff’s identity.
17

18          Plaintiff is a minor. He is a student in high school. Plaintiff was groomed, lured, enticed,

19   solicited and recruited for sex trafficking through online communications when he was 13 years
20
     old. Plaintiff eventually cut off communication with the person or persons (“Traffickers”) who
21
     were extorting him, but subsequently child sex abuse material (“CSAM”) depicting Plaintiff was
22
     disseminated on Twitter, where it was viewed by students in John Doe’s school. As a result, he
23

24   faced bullying, harassment, and became suicidal. When Plaintiff alerted Twitter to the CSAM

25   and provided proof of John Doe’s age, Twitter refused to remove the illegal material and instead
26
     continued to promote and profit from its presence and distribution on its platform. Only after
27

28                                      -2-
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
        PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                      ORDER
               Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 3 of 22



 1   Twitter was contacted by a federal agent did it remove the CSAM depicting Plaintiff John Doe.
 2
     By that time, it had been viewed over 167,000 times. See Complaint, Doc. No. 1 at ¶¶ 64-101.
 3
             The graphic nature of the CSAM depicting Plaintiff, as alleged herein, is particularly
 4
     degrading and sensitive. Requiring Plaintiff to disclose his identity in public court records, in
 5

 6   order to assert his claims against Twitter for distributing and profiting from the CSAM depicting

 7   John Doe, will only serve to further re-victimize Plaintiff and compound the harm for which he
 8
     seeks redress through this litigation.
 9
             Plaintiff agrees to proceed as “John Doe,” and does not object to providing his true, full
10
     name to Defendant at the appropriate time in the litigation, pursuant to a protective order barring
11

12   further dissemination of that information and requiring all documents containing his true name to

13   be filed under seal. Accordingly, granting Plaintiff’s application will in no way prejudice the
14
     Defendant. Ultimately, Plaintiff’s substantial privacy interests regarding this deeply personal
15
     and degrading violation outweigh the public’s interest in knowing their identities, as there is a
16
     greater public interest in protecting the interests of survivors of commercial sex trafficking and
17

18   ensuring that other similarly situated victims will not be deterred from reporting crimes and

19   seeking redress.
20
             II.     ARGUMENT
21
             There is a public interest in allowing society to scrutinize government functions,
22
     including open access to attend and observe both criminal and civil proceedings. Richmond
23

24   Newspapers, Inc. v. Virginia, 448 U.S. 555, 599-600 (1980). “The equation linking the public’s

25   right to attend trials and the public’s right to know the identity of the parties is not perfectly
26
     symmetrical.” Doe v. Stegall, 653 F.2d 180 (5th Cir. 1981). Party anonymity does not inhibit
27
     the public interest to an open trial in the way that closure of a courtroom does; rather, the public
28                                                     -3-
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
         PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                                    ORDER
               Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 4 of 22



 1   can still attend and observe a trial while the Plaintiff proceeds under a pseudonym, thus
 2
     preserving the constitutional interest in ensuring that “[w]hat transpires in the courtroom is
 3
     public property.” Craig v. Harney, 331 U.S. 367, 374 (1947).
 4
            The Rules of Federal Procedure and of this Court allow for Plaintiff to proceed
 5

 6   pseudonymously. 1 Because John Doe is a minor, Rule 5.2 requires that filings must only include

 7   his initials and not his name. Fed. R. Civ. Pro. 5.2. Additionally, although Rule 10(a) requires
 8
     the title of the complaint to name all the parties, courts have allowed litigation under a
 9
     pseudonym in special circumstances, “when the party’s need for anonymity outweighs prejudice
10
     to the opposing party and the public's interest in knowing the party’s identity.” Does I thru XXIII
11

12   v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000). See also Sealed Plaintiff v.

13   Sealed Defendant, 537 F.3d 185, 190 (2d Cir. 2008); United States v. Doe (Doe II), 488 F.3d
14
     1154, 1156 n. 1 (9th Cir. 2007). In addressing a request by plaintiffs to proceed anonymously,
15
     this court has previously “balance[d] the competing interests involved by weighing the party’s
16
     need for anonymity against the general presumption that parties’ identities be available to the
17

18   public and the likelihood of prejudice to the opposing party.” Advanced Textile Corp. at 1067;

19   Boggs v. United States, 143 Fed. Cl. 508, 511 (2019).
20
            Applying the balancing test, the Ninth Circuit has set forth a list of three scenarios in
21
     which courts may permit a plaintiff to proceed pseudonymously: (1) when there is a risk of
22
     retaliatory physical or mental harm, Advanced Textile Corp. 214 F.3d at 1068 citing Stegall, 653
23

24

25

26
     1
27    Additionally, Plaintiff bring this action in part under Section 1708.85 of the California Civil
     Code. Paragraph (f) of that Section allows for Plaintiffs to proceed using a pseudonym.
28                                                    -4-
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
        PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                                    ORDER
               Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 5 of 22



 1   F.2d at 186, Southern Methodist Univ., 599 F.2d 707, 713 (5th Cir. 1979); (2) when anonymity is
 2
     needed to preserve privacy in a matter of sensitive and highly personal nature, id. (citing James,
 3
     6 F.3d at 238); and (3) when the anonymous party is “compelled to admit [his or her] intention to
 4
     engage in illegal conduct, thereby risking criminal prosecution.” Id. (citing Stegall, 653 F.2d at
 5

 6   186).

 7           In this case, the facts strongly weigh in favor of Plaintiff’s application to file this case
 8
     using a pseudonym. Accordingly, the application should be granted.
 9
             A. Disclosure of Plaintiff’s identity would reveal information that is of a highly
10              sensitive and personal nature and cause severe psychological harm and undue
                embarrassment to Plaintiff.
11

12                     i.    Disclosure of Plaintiff’s identity would reveal information that is of a
                             highly sensitive and personal nature.
13
             Plaintiff has a substantial privacy right in guarding the sensitive and highly personal
14

15   information he must disclose in this sex trafficking litigation. Evaluating “the issue of

16   pseudonymity requires weighing the scales between the public’s interest and the rights to privacy
17
     advanced by the movant … [and] privacy interests are recognized in particular circumstances to
18
     be in the public interest.” M.M. v. Zavaras, 139 F.3d 798, 803 (10th Cir. 1998).
19
             In evaluating what information constitutes that of a highly sensitive and protected nature,
20

21   it is well established that victims of rape, human trafficking, and sexual battery have a strong

22   interest in protecting their identities, so that other victims will not be deterred from reporting
23
     such crimes. See, e.g., Doe v. Blue Cross & Blue Shield United of Wisconsin, 112 F.3d 869, 872
24
     (7th Cir. 1997) (fictitious names are allowed when necessary to protect the privacy of rape
25
     victims, and other particularly vulnerable parties or witnesses); Doe v. Epic Games, Inc., 435 F.
26

27   Supp. 3d 1024, 1054 (N.D. Cal. 2020) (cases involving sexual abuse or human trafficking

28                                      -5-
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
        PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                      ORDER
               Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 6 of 22



 1   appropriately favor allowing a plaintiff to proceed using a pseudonym, as opposed to a video-
 2
     game habit); Jane Doe v. Uber Technologies, Inc., 17-CV-00950-WHO, Doc. No. 27 (N.D. Cal.
 3
     Oct. 15, 2015) (the right for privacy for sexual assault, physical assault, and human trafficking
 4
     survivors overcomes the right for the public interest to know their identities); Doe v. Penzato,
 5

 6   No. CV10-5154 MEJ (N.D. Cal. 2011) (holding that the highly personal and sensitive nature of

 7   being a human trafficking and sexual battery survivor allowed the plaintiff to proceed
 8
     anonymously); Fla. Abolitionist, Inc. v. Backpage.com LLC, No. 17 Civ. 218, Doc. 46 at 2-4
 9
     (M.D. Fla. 2017) (multiple sex trafficking survivors’ right to privacy, especially when some were
10
     minors, overcomes the right for the public interest to know their identities). Additionally, a
11

12   parent appearing as next friend of a minor plaintiff may be granted anonymity to protect the

13   minor’s identity. See A.B. ex rel. V.S. v. Meyer, 2015 WL 4545872 at *1 (N.D. Ind. July 28,
14
     2015) (granting motion to proceed anonymously for mother suing on behalf of child).
15
            At a young age, Plaintiff was targeted as part of a sex trafficking venture. As a result of
16
     that sex trafficking venture, CSAM depicting Plaintiff was distributed broadly on Twitter and
17

18   viewed by students at Plaintiff’s high school. Given that John Doe is not only a minor, but a

19   victim of sex trafficking and is featured in illegal CSAM, disclosure of his identity will reveal
20
     information that is of a highly sensitive and personal nature, which weighs in favor of allowing
21
     Plaintiff to proceed anonymously.
22
                      ii.   As a survivor of sex trafficking, Plaintiff is particularly vulnerable to
23
                            the severe harm that would be caused by the disclosure of his identity.
24
            If Plaintiff is publicly identified, it will further exacerbate the ongoing psychological
25
     harm and trauma Plaintiff already suffers. Human trafficking attacks its victims’ dignity and
26

27   value as a person; it erases the victim’s choice and makes the victim doubt their own self-

28                                      -6-
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
        PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                      ORDER
                    Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 7 of 22



 1   worth. 2 . This is compounded by the very public nature of widespread pornography distribution,
 2
     particularly in this case, where over 167,000 people viewed the CSAM of John Doe and 2,223
 3
     retweeted it, creating exponential viewership. See Complaint, Doc. No. 1 at ¶ 95.
 4
                There is a psychological vulnerability and harm to even the strongest of sex trafficking
 5

 6   survivors that is easily exacerbated. Survivors of sex trafficking who have been able to thrive

 7   after their ordeal and speak openly about the offenses they were subject to, explain that it takes a
 8
     great deal of incredibly difficult work to reach that point. 3 Even at the most advanced stages of
 9
     healing, many survivors are not willing to go public with their stories. Survivors struggle with
10
     “re-living the traumas over again through flashbacks, overwhelming intrusive and negative
11

12   thoughts, feeling consumed by emotions of shame and guilt, thinking that they are living in

13   hiding and unable to let themselves be truly seen, and experiencing fleeting feelings of dignity
14
     and respect.” 4
15
                Plaintiff John Doe became suicidal during the time the CSAM depicting him was being
16
     distributed on Twitter. Id. at ¶ 95. He has since tried to regain the normal life he was deprived
17

18   of due to Twitter’s distribution and profiting from the CSAM depicting him. Thrusting Plaintiff

19   into the public spotlight will encourage media attention and questions focusing on him
20

21

22

23

24   2
      See, United Nations: Office on Drugs and Crime, Breaking the Silence on Human Trafficking,
25   https://www.unodc.org/unodc/en/frontpage/breaking-the-silence-on-human-trafficking.html.
     3
       Ruth Rondon, Understanding the 4 Stages of Recovering from Sex Trafficking, Human Trafficking
26   eLearning, (2017) 1- 7, 5 (This guide is written by a well-published survivor of sex trafficking and is
     attached hereto as “Exhibit 1.”).
27
     4
         Id at 3.
28                                         -7-
          PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
           PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                         ORDER
               Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 8 of 22



 1   personally, will cause severe embarrassment to Plaintiff, will cause severe psychological harm
 2
     and can be catastrophic to Plaintiff’s recovery.
 3
            Additionally, victims of sex trafficking and sexual abuse are also uniquely vulnerable in
 4
     this current age of technology, where every thought, whether accurate or inaccurate, gets
 5

 6   published online in social media. See Cabrera, 307 F.R.D. at *7 (“Having the plaintiff’s name in

 7   the public domain, especially in the Internet age, could subject the plaintiff to future unnecessary
 8
     interrogation, criticism, or psychological trauma, as a result of bringing this case.”). Sex
 9
     traffickers, like those who initially recruited Plaintiff, are experts in psychological manipulation;
10
     they use degrading and dehumanizing tactics to keep their victims enslaved and in fear. To
11

12   certain segments of society, the victims are sometimes viewed as “at fault” for what happened to

13   them. Therefore, to subject Plaintiffs to such unsolicited feedback online through public
14
     disclosure of their identities—when what he seeks from this litigation is to come a step closer to
15
     being made whole again—will perpetuate and exacerbate the same harm that Plaintiff has
16
     already suffered. Given the above, and that identification of Jane Doe would likely enable the
17

18   public to identify John Doe, identification of both Plaintiff and his mother, Jane Doe, will likely

19   cause additional severe mental and psychological harm, which weighs in favor of allowing
20
     Plaintiff to proceed under pseudonyms.
21
            B. The public interest in the litigation is furthered by allowing Plaintiff to proceed
22             anonymously.
23
            “The equation linking the public’s right to attend trials and the public’s right to know the
24
     identity of the parties is not perfectly symmetrical.” Stegall, 653 F. 2d 180 at 185. “The public
25
     right to scrutinize governmental functioning, is not so completely impaired by a grant of
26

27   anonymity to a party as it is by closure of the trial itself, as the assurance of fairness preserved by

28                                      -8-
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
        PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                      ORDER
               Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 9 of 22



 1   public presence at a trial is not lost when one party's cause is pursued under a fictitious name.”
 2
     Richmond Newspapers, Inc., 448 U.S. at 599-600.
 3
             The public interest is not harmed by allowing Plaintiff to proceed anonymously. While
 4
     the presumptive openness of proceedings is a cornerstone of the American legal system, there is
 5

 6   a greater interest in affording a victimized Plaintiff, such as John Doe, their day in court without

 7   the defendants deterring them from pursuing their claims by forcing the Plaintiff’s public
 8
     identification.
 9
             One of the main deterrents to reporting sex crimes and crimes of human trafficking is the
10
     survivor’s fear that his or her identity will become known; and, as such, the survivor’s individual
11

12   privacy right overcomes the public interest of knowing the survivor’s identity. Society is better

13   served by incentivizing victims of these horrific crimes to come forward, instead of enabling the
14
     perpetrator to remain unaccountable and continue to commit such crimes. Blue Cross, 112 F.3d.
15
     at 872; Advanced Textile Corp., 214 F.3d at 1072-73.
16
             The public has an interest in seeing cases tried on their merits, especially civil rights
17

18   cases. Advanced Textile Corp., 214 F.3d at 1073. In Advanced Textile Corp., the Plaintiff filed

19   claims as a class action under the Fair Labor Standards Act, based on conditions in a garment
20
     factory. The Plaintiff proceeded using pseudonyms due to the fear of severe retaliation by the
21
     Chinese government, including physical violence, deportation to China, arrest, and
22
     imprisonment. In determining whether the Plaintiff should have been allowed to proceed under
23

24   pseudonyms, the Ninth Circuit evaluated several factors, including whether granting the request

25   was in the public interest. Id. “[A]s the Supreme Court has recognized, fear of . . . reprisals will
26
     frequently chill [a person’s] willingness to challenge . . . violations of their rights.” Id., citing
27
     Mitchell v. De Mario Jewelry, Inc., 361 U.S. 288, 292 (1960). Measures that may have a chilling
28                                                 -9-
      PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
         PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                                 ORDER
              Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 10 of 22



 1   effect on a party’s willingness to litigate “violations of statutes are generally considered against
 2
     public policy.” Id. In such cases, permitting the plaintiff to use pseudonyms “will serve the
 3
     public’s interest in this lawsuit by enabling it to go forward.” Id.
 4
            Compelling the identification of Plaintiff will deter other sex trafficking litigation.
 5

 6   Denying victims of sex trafficking anonymity in the appropriate circumstances—such as here—

 7   will discourage them from pursuing legal redress for their abuse, and only further allow
 8
     Defendant and others participating in, benefitting, or profiting from sex trafficking to continue
 9
     without detection or interference by the law. It is in society’s best interest to allow Plaintiff to
10
     proceed anonymously.
11

12          C. Defendant will not be prejudiced by Plaintiff bringing his claim using a
               pseudonym because Defendants will know the names of Plaintiff, subject to a
13             protective order.
14
            As a general rule, courts nationwide have determined that while a plaintiff’s identity may
15
     be protected from the general public, it will prejudice the defendant to not know whom to
16
     investigate and will frustrate the defendant’s ability to participate meaningfully in discovery
17

18   without knowing the identity of the accuser(s). It is well established that when balancing the

19   different interests involved in cases such as these, “courts have permitted parties to enter into
20
     protective orders that permit the limited disclosure of a plaintiff’s identity for discovery purposes
21
     on the condition that the defendants do not disclose it to the general public.” Advanced Textile
22
     Corp., 214 F.3d at 1069.
23

24          Anonymity in this case, would be limited to the pseudonym that Plaintiff uses, not to who

25   the Plaintiff is in every other respect. James v. Jacobson, 6 F.3d 233, 243 (4th Cir. 1993). As
26
     previously mentioned, Plaintiff is willing to provide his full name to Defendant, subject to a
27
     protective order that prohibits disclosure to any third parties. Plaintiff also seeks redaction of his
28                                                   - 10 -
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
         PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                                    ORDER
              Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 11 of 22



 1   personally identifying information from the public docket and assurances that Defendant will not
 2
     use or publish Plaintiff’s identity pursuant to the protective order. Furthermore, there is no
 3
     alternative mechanism for protecting the identity of Plaintiff. With this concession in place,
 4
     Defendant will not be prejudiced if Plaintiff’s application is granted and, therefore, this factor
 5

 6   weighs in favor of allowing Plaintiff to proceed under a pseudonym.

 7          III.    CONCLUSION
 8
            The balancing test clearly demonstrates that Plaintiff’s need for anonymity outweighs the
 9
     countervailing public interest of disclosure. Further, there is little to no prejudice to Defendant.
10
            For the foregoing reasons, the Court should grant Plaintiff’s ex parte application to
11

12   proceed in this litigation under the pseudonym of John Doe and allow his parent and next friend

13   to appear as Jane Doe. The Court should further order that all materials filed in this action, all
14
     judgments, and any other documents relating to this action shall refer to Plaintiff as John Doe,
15
     and his parent/next friend as Jane Doe, without additional identifying information. Plaintiff
16
     further requests that this Court order that any release or deliberate disclosure of Plaintiff’s
17

18   identity by Defendant, to anyone outside of the terms ordered in the protective order, be

19   sanctionable and accountable to the fullest extent of the law.
20

21          Respectfully submitted,

22
      Dated: January 20, 2021                By:        /s/ Paul A. Matiasic
23
                                                      Paul A. Matiasic
24                                                    Hannah E. Mohr
                                                      THE MATIASIC FIRM, P.C.
25                                                    4 Embarcadero Center, Suite 1400
                                                      San Francisco, CA 94111
26
                                                      Telephone: (415) 675-1089
27                                                    matiasic@mjlawoffice.com

28                                     - 11 -
       PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
        PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                      ORDER
         Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 12 of 22



 1                                    Lisa D. Haba*
                                      Adam A. Haba*
 2
                                      THE HABA LAW FIRM, P.A.
 3                                    1220 Commerce Park Dr., Suite 207
                                      Longwood, FL 32779
 4                                    Telephone: (844) 422-2529
                                      lisahaba@habalaw.com
 5
                                      adamhaba@habalaw.com
 6
                                      Benjamin W. Bull*
 7                                    Peter A. Gentala*
                                      Dani Bianculli Pinter*
 8
                                      Christen M. Price*
 9                                    NATIONAL CENTER ON SEXUAL
                                      EXPLOITATION
10                                    440 First Street, NW, Suite 840
                                      Washington, D.C. 20001
11
                                      Telephone: (352) 266-7989
12                                    lawcenter@ncose.com

13                                    Attorneys for Plaintiff
14
                                      *Pro Hac Vice Application Pending
15

16

17

18

19

20

21

22

23

24

25

26

27

28                                   - 12 -
     PLAINTIFF’S EX PARTE APPLICATION FOR PROTECTIVE ORDER AND LEAVE TO
      PROCEED ANONYMOUSLY WITH MEMORANDUM IN SUPPORT; [PROPOSED]
                                    ORDER
Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 13 of 22




                        EXHIBIT 1




                                 14
Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 14 of 22




                                 15
Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 15 of 22




                                 16
Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 16 of 22




                                 17
Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 17 of 22




                                 18
Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 18 of 22




                                 19
Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 19 of 22




                                 20
Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 20 of 22




                                 21
              Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 21 of 22



 1                                        [PROPOSED] ORDER
 2
            THE COURT FINDS that it is reasonable and necessary that Plaintiff’s identity remain
 3
     confidential throughout the pendency of the lawsuit and thereafter.
 4
            THE COURT ORDERS that Plaintiff be permitted to proceed in this litigation under the
 5

 6   pseudonym of John Doe and his parent and next friend shall be permitted to appear as Jane Doe.

 7          THE COURT FURTHER ORDERS that all materials filed in this action, all judgments,
 8
     and any other documents relating to this action shall refer to Plaintiff as John Doe, and his
 9
     parent/next friend as Jane Doe, without additional identifying information.
10
            THE COURT FURTHER ORDERS that any release or deliberate disclosure of Plaintiff’s
11

12   identity by Defendant, to anyone outside of the terms ordered in the protective order, be

13   sanctionable and accountable to the fullest extent of the law.
14

15
            Dated: ________________
16
                                                   _________________________________
17
                                                   Judge of the United States District Court
18

19

20

21

22

23

24

25

26

27

28                                         [PROPOSED] ORDER
              Case 3:21-cv-00485-JCS Document 8 Filed 01/20/21 Page 22 of 22



 1                                    CERTIFICATE OF SERVICE
 2
            I hereby certify that on January 20, 2021, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
 4
     email address denoted on the Electronic Mail Notice List.
 5

 6          I certify under penalty of perjury under the laws of the United States of America that the

 7   foregoing is true and correct.
 8
                    Executed this 20th day of January, 2021.
 9

10
                                                            /s/ Hannah E. Mohr
11
                                                          Paul A. Matiasic
12                                                        Hannah E. Mohr
                                                          THE MATIASIC FIRM, P.C.
13                                                        4 Embarcadero Center, Suite 1400
                                                          San Francisco, CA 94111
14
                                                          Telephone: (415) 675-1089
15                                                        matiasic@mjlawoffice.com

16

17

18

19

20

21

22

23

24

25

26

27

28
